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                                                     January 7, 2021


Via ECF
Hon. P. Kevin Castel
United States District Judge
United States Courthouse
500 Pearl Street
New York, New York 10007

               Re:    United States v. Juan Antonio Hernandez Alvarado
                      15 Cr. 379

Dear Judge Castel:

      I represent Mr. Hernandez Alvarado. I write to update the Court on the current status of
Mr. Hernandez’s matter.

       Mr. Hernandez Alvarado informed me a few days ago that prior counsel never provided
him with a translated copy of the Pre-Sentence Report. The Final Presentence Report was
produced in February 2020, at approximately the same time as counsel had submitted a
sentencing submission, which was apparently not translated for him either. I was appointed on
April 15. As Mr. Hernandez Alvarado appeared fully conversant with all sentencing-related
matters, the issue simply never came up in conversation until now, when we were preparing for
sentencing at the end of this month.

        I have secured a translator, am submitting a request for translation through evoucher
this evening and will advise the Court as to the anticipated completion date of the two
documents. I apologize for any inconvenience and thank the Court for its consideration.


                                                     Respectfully submitted,




                                                     Peter E. Brill
